
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-2105

                                    UNITED STATES,
                                      Appellee,

                                          v.

                                   THOMAS D'ANDREA,
                                Defendant - Appellant.

                                 ____________________

                                     ERRATA SHEET


               The opinion of this court issued on March 5, 1997 is amended
          as follows:

               Page 22, line 15 should read:  "1988)) (citations omitted)."















































                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-2105

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   THOMAS D'ANDREA,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                             and Tauro,* District Judge.
                                         ______________

                                _____________________

               Arthur  R. Silen,  by appointment  of the  Court, with  whom
               ________________
          Roberts &amp; Newman, P.A. was on brief for appellant.
          ______________________
               Ira  Belkin,  Assistant  United States  Attorney,  with whom
               ___________
          Sheldon  Whitehouse, United  States  Attorney, was  on brief  for
          ___________________
          appellee.



                                 ____________________

                                    March 5, 1997
                                 ____________________

                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.














                    TORRUELLA,  Chief   Judge.     On  October   13,  1994,
                    TORRUELLA,  Chief   Judge.
                                _____________

          Defendant-Appellant Thomas D'Andrea ("D'Andrea") was  indicted on

          one count of  bank fraud in violation of 18  U.S.C.   1344 (Count

          One) and six  counts of  making false statements  to a  federally

          insured financial institution in violation  of 18 U.S.C.    1014.

          After  a two-week trial in the  District Court of Rhode Island, a

          jury found D'Andrea  guilty on  all counts.   The district  court

          sentenced D'Andrea to  five years' imprisonment on Count  One and

          two  years' imprisonment  for each  of the  other counts,  to run

          concurrently, and  three years'  supervised release on  Count One

          and one year supervised release on the  other counts, also to run

          concurrently.   In addition, the district  court ordered D'Andrea

          to make restitution  to the Resolution  Trust Corporation in  the

          amount  of $2.2 million for losses related to the fraudulent loan

          activities.  D'Andrea now claims errors related to both the trial

          and sentencing phases.   Concluding that  the district court  did

          not commit error, we affirm D'Andrea's conviction and sentence.

                                      BACKGROUND
                                      BACKGROUND

                    In  late  1988, D'Andrea,  Robert  D'Andrea (D'Andrea's

          brother),  Gary Lowenstein,  and Michael  Tulman applied  for and

          obtained a  $2.88 million loan  from New England  Federal Savings

          Bank  ("New England Federal" or  "the bank"), a federally insured

          institution.   The loan was obtained for the purpose of acquiring

          a warehouse and truck terminal located in Cranston, Rhode Island.

          Because  the bank would  only lend  up to  eighty percent  of the

          total purchase price of the warehouse, D'Andrea, and at least one


                                         -2-














          of the sellers of the property, Frank Paolino, schemed to inflate

          the  purchase price of the  warehouse from just  over two million

          dollars  to $4.18 million.   By so inflating  the price, D'Andrea

          was able to  receive from the  bank a loan in  the amount of  the

          purchase  price,   thereby  relieving  himself   and  his  fellow

          purchasers  of the burden of putting  any of their own money into

          the purchase of the warehouse.

                    The scheme  went as  follows.  D'Andrea  represented to

          New  England  Federal that  the  purchasers  would pay  the  $1.3

          million difference  required to  meet the $4.18  million purchase

          price.  In  order to make up  this gap, D'Andrea submitted  false

          records to the bank indicating that certain deposits  had already

          been  made to  the  sellers.   In  addition, the  bank  requested

          agreements  indicating the  amount of  rent paid  by each  of the

          tenants  at the warehouse.  D'Andrea forged the signatures of the

          officers  of each of the  warehouse tenants on  documents that he

          then submitted to the  bank.  D'Andrea also submitted  a document

          to  the bank  indicating  a tenant-landlord  relationship with  a

          company  that never rented space at the warehouse.  Two witnesses

          testified that  D'Andrea presented them with  copies of documents

          containing falsified rental amounts for tenants at the warehouse.

          D'Andrea  also  admitted  that  he forged  tenant  signatures  on

          tenant-at-will agreements without the  knowledge or permission of

          officials at the tenant-companies.

                    During the course of the trial, D'Andrea testified that

          he took  pains to pay off the $2.88 million loan from New England


                                         -3-














          Federal.    On  cross-examination  of  D Andrea,  the  government

          elicited testimony that he used proceeds from a $5.9 million loan

          from  Rhode Island Central  Credit Union to pay  off part of that

          loan.   D'Andrea obtained this  loan along with  four others, the

          Zarella brothers.1   D'Andrea  testified that, in  obtaining this

          loan,  he forged the signatures of the Zarella brothers  wives on

          a guarantee form.

                    Finally,  D'Andrea used the  warehouse property located

          in  Cranston, Rhode  Island, obtained  through the  use of  false

          documents, as security  for yet another  loan, for $585,000  from

          Rhode Island Central Credit Union.

                                      DISCUSSION
                                      DISCUSSION

                    D'Andrea makes numerous claims on appeal, most of which

          we  discern to be  related to his  sentencing.   We will consider

          each argument individually.

          I.  Government's Use of the Phrase "Straw Borrowers"
          I.  Government's Use of the Phrase "Straw Borrowers"

                    Without citation to  any supporting case law,  D'Andrea

          argues as follows:

                      At trial, over D'Andrea's  objection, the
                      prosecutor   repeatedly  asked   D'Andrea
                      whether he used 'straw borrowers   in his
                      dealings with Rhode Island Central Credit
                      Union.  . .  .    D'Andrea  denied  using
                      'straws', but regardless, the  jury could
                      not  have  been  unaffected, because  the
                      term 'straw borrowers'  was a  hot-button
                      term repeatedly used by the news media to
                      describe unsophisticated participants  in
                              
          ____________________

          1   This name  is spelled "Zarella"  in the  trial transcript and
          "Zarrella" in the sentencing hearing transcript.  For purposes of
          consistency, we will use the spelling "Zarella."  Some quotations
          taken from Appellant's Brief contain the spelling "Zarrella."

                                         -4-














                      real  estate  ventures who  were  said to
                      [have]  been induced  to  join with  real
                      estate developers  in funding speculative
                      and unsound real estate ventures.

          We read this  statement to  be an argument  that the  prejudicial

          effect of the government's  use of the term "straw  borrowers" so

          outweighed  its probative  value that  the district  court should

          have barred use of  the term.  "Unfairly prejudicial  evidence is

          evidence . . .  that 'triggers [the] mainsprings of  human action

          [in  such a way  as to]  cause the jury  to base  its decision on

          something other  than the established proposition  in the case.'"

          United  States  v.  Currier, 836  F.2d  11,  18  (1st Cir.  1987)
          ______________      _______

          (quoting 1 Weinstein's Evidence   403, 36-39 (1986)).

                    We review  a district  court's evidentiary  rulings for

          abuse of discretion.   United States v. Trenkler, 61  F.3d 45, 56
                                 _____________    ________

          (1st  Cir.  1995).    We  grant  a  district  court's on-the-spot

          determination of  prejudice and probativeness  wide latitude  and

          "'[o]nly   in  exceptional  circumstances  will  we  reverse  the

          exercise of a district  court's informed discretion vis-a-vis the

          relative  weighing of  probative value  and unfairly  prejudicial

          effect.'"  United States v. DiSanto, 86 F.3d 1238, 1252 (1st Cir.
                     _____________    _______

          1996)  (quoting  Currier, 836  F.2d  at 18),  petition  for cert.
                           _______                      ___________________

          filed, No. 96-1176, 65 U.S.L.W. 3531 (Nov. 12, 1996).
          _____

                    Although  the  judge  did  not  make  explicit findings

          regarding the probativeness of the inquiry into the use of "straw

          borrowers,"  the  government  stated  that it  was  pursuing  the

          inquiry  as   rebuttal  to  D'Andrea's  statement   that  he  had

          approximately  $100,000  on  deposit with  Rhode  Island  Central

                                         -5-














          Credit  Union when the credit  union closed.   The government was

          attempting to show that, although D Andrea lost a significant sum

          of money because of the failure of the credit union, he also owed

          the credit union  millions of dollars, including money from loans

          obtained using others' names.

                    The  government s line of questioning was probative for

          rebuttal purposes and was limited in  nature.  "Rebuttal evidence

          may  be introduced to  explain, repel, contradict  or disprove an

          adversary's  proof."  United States  v. Laboy, 909  F.2d 581, 588
                                _____________     _____

          (1st  Cir. 1990).  Moreover, once the government established in a

          matter of  five questions that  D'Andrea claimed no  knowledge of

          such loans, it moved  on and did  not refer to "straw  borrowers"

          again during the course of the trial.  We find  that the district

          court did not abuse its discretion.

          II.  Sentencing Issues
          II.  Sentencing Issues

                    A.  Relevant Conduct
                    A.  Relevant Conduct

                    D'Andrea's  next  claim  of  error  suggests  that  the

          district  court's judgment during  sentencing was somehow tainted

          by its consideration of the term "straw borrowers":

                      D'Andrea's  prominent  role  as  a  major
                      borrower   from  [Rhode   Island  Central
                      Credit Union] could not have been ignored
                      by Judge  Lagueux  in his  assessment  of
                      D'Andrea's  culpability,  and it  was his
                      involvement  in  the latter  that fatally
                      infected the court's judgment in  the New
                      England  Federal Savings Bank case. . . .
                      D'Andrea  was   not  on  trial   for  his
                      activities  involving the  RISDIC-insured
                      credit   unions;  and   the  prosecutor's
                      questions  [regarding "straw  borrowers"]
                      were clearly intended to inflame the jury
                      and the court.

                                         -6-














                                        * * *

                         In   considering    the   Government's
                      position, Judge  Lagueux noted D'Andrea's
                      objections,  but   considered  D'Andrea's
                      forgery  of  the  Zarrella  wive's  [sic]
                      signatures  on  the  loan   guarantee  as
                      "relevant conduct". . . .

                         At  the  same  time  the  trial  judge
                      assumed  that  the  Zarrellas['] role  in
                      _______
                      that  transaction was  . .  . fraudulent,
                      and   he   made  no   finding   that  the
                      Zarrellas, or for that matter, any of the
                      other  alleged   "straw  borrowers"  were
                      involved  in  a scheme  to  defraud Rhode
                      Island   Central   Credit   Union,   were
                      unsophisticated   investors,    or   were
                      unaware  of  the  obligations  they  were
                      incurring . . . .

          Appellant's  Brief  at  22-24.   Although  appellant s  brief  is

          difficult to  decipher, D'Andrea  appears to object  both to  the

          district  court's  consideration  of  D'Andrea's forgery  of  the

          Zarellas'   wives'  signatures  and   to  the   district  court's

          consideration  of  the  alleged  fraudulent nature  of  the  loan

          D'Andrea obtained from Rhode Island Central Credit Union with the

          Zarellas.  Both claims lack merit.

                    First,   the   district   court's  determination   that

          D'Andrea's forgery constituted "relevant conduct" is a finding of

          fact,  which we review for clear error.  United States v. Tejada-
                                                   _____________    _______

          Beltr n, 50  F.3d 105, 109 (1st  Cir. 1995).  For  the sentencing
          _______

          court  to   consider  uncharged  conduct   at  sentencing,   "the

          government must  show a sufficient nexus between  the conduct and

          the offense  of conviction by  a preponderance of  the evidence."

          United States v. Young, 78 F.3d  758, 763 (1st Cir. 1996).  Under
          _____________    _____

          the Sentencing Guidelines, "relevant conduct" includes acts "that

                                         -7-














          were part of the same course of conduct or common  scheme or plan

          as the offense of conviction."  U.S.S.G.   1B1.3.  For actions in

          the Rhode  Island Central Credit  Union loan acquisition  and the

          charged offense to be considered part of a common scheme or plan,

          "they must be substantially  connected to each other by  at least

          one common  factor, such  as common victims,  common accomplices,

          common purpose, or  similar modus operandi."   U.S.S.G.    1B1.3,

          Commentary.

                    We believe  that the district court  properly concluded

          that the use of forgery to obtain the Rhode Island Central Credit

          Union loan was  part of  the same  scheme or  plan as  D Andrea s

          fraudulent  efforts to obtain the loan  from New England Federal.

          D'Andrea  used  proceeds  from  the  fraudulently  obtained  $5.9

          million  credit union  loan  to pay  off  portions of  the  first

          fraudulently  obtained bank  loan.   This, as the  district court

          noted,  amounted to a scheme by which D'Andrea "robb[ed] Peter to

          pay  Paul."  Transcript of Sentencing Hearing, September 7, 1995,

          at 16.  We cannot find any error here, let alone clear error.

                    Second,  the record  offers  some indication  that  the

          sentencing court considered D'Andrea's  use of straw borrowers as

          part of the fraud  he perpetrated on Rhode Island  Central Credit

          Union  to obtain  the  $5.9  million  loan.    To  be  considered

          "relevant conduct," the government  must prove D'Andrea's actions

          by  a preponderance of the  evidence.  At  trial, D Andrea denied

          use of straw borrowers  and nothing in the  pre-sentencing report

          supports, by a preponderance of the evidence, the conclusion that


                                         -8-














          D'Andrea used the Zarellas as straw borrowers.  Although, on this

          record,  it does not appear that a  showing by a preponderance of

          the evidence  was made by the government regarding D'Andrea's use

          of  straw borrowers, we have already determined that the loan was

          properly before  the  court as  "relevant conduct"  based on  the

          forgery.

                    Moreover,  at  the  sentencing  proceeding,  D'Andrea's

          trial counsel objected to enhancement of D Andrea s offense level

          on the basis of his use of  straw borrowers only as it related to

          what he considered triple counting:  use of the loan to calculate

          the  measure  of  loss  as  a  result  of  D'Andrea's  fraudulent

          activities; use of the loan as "relevant conduct"; and use of the

          loan  to determine D'Andrea's role in the offense.2  D'Andrea did
                              
          ____________________

          2  D'Andrea's counsel's objection was stated as follows:

                      In addition, your  Honor, it's  counsel's
                      opinion  that all  of the  reference with
                      respect to the adjustment for the role of
                      the offense  of  straw borrowers  in  the
                      state  case, cases, is, again, an attempt
                      with an increase of  a level 4 to subject
                      Mr. D'Andrea to additional punishment for
                      something that  has not been  decided.  I
                      realize there are  federal cases that say
                      in fact  that can be  done.  My  point is
                      that it's being  done three times to  him
                      on  three  different  levels   for  three
                      different  types  of consideration  under
                      the  guidelines.   I  don't  think that's
                      appropriate.    Certainly  if  the  Court
                      finds that it's "relevant conduct" it can
                      consider it.   But it considers  it as to
                      the  amount  of  the  loan,   as  to  the
                      "relevant    conduct",    as    to    his
                      participation in the  offense.  It's  all
                      the  same   thing.    But  yet   he  gets
                      increased   levels   for  that   kind  of
                      activity   and   I  don't   think  that's

                                         -9-














          not object  that the  government  had failed  to prove  uncharged

          "straw borrowers" conduct  by a preponderance of  the evidence to

          justify its consideration as "relevant conduct," as he appears to

          charge here.   Because  D'Andrea did  not preserve this  argument

          below, we  review only  for plain  error.   See United  States v.
                                                      ___ ______________

          Bennett, 60  F.3d 902, 905 (1st Cir. 1995) (rejecting appellant s
          _______

          argument  raised  for the  first time  on appeal  where different

          argument  accompanied  his  objection below);  United  States  v.
                                                         ______________

          Tutiven, 40 F.3d 1, 7-8 (1st Cir. 1994) (applying plain  error to
          _______

          sentencing argument that was  not preserved below), cert. denied,
                                                              ____________

          115 S. Ct. 1391  (1995).  Under  this standard, we  "will reverse

          only if the error  'seriously affect[ed] the fundamental fairness

          and  basic  integrity of  the  proceedings.'"   United  States v.
                                                          ______________

          Tuesta-Toro, 29  F.3d  771, 775  (1st Cir.  1994), cert.  denied,
          ___________                                        _____________

          115 S.  Ct. 947 (1995).    Because  the  $5.9  million  loan  was

          properly before the sentencing  court as "relevant conduct" based

          on the forgeries alone, the district court's consideration of the

          loan based on other factors cannot be plain error.

                    B.  Amount of Loss
                    B.  Amount of Loss

                    D'Andrea  claims error  both in the  sentencing court's

          failure to depart downward  for multiple loss causation regarding

                              
          ____________________

                      appropriate. .  . .  So my  suggestion to
                      the Court is that although the level with
                      respect  to  fraud  is  six   it  can  be
                      increased but it should not  be increased
                      three   fold   with   respect  to   those
                      particular items.

          Transcript of Sentencing Hearing, at 13-14.

                                         -10-














          the amount of  loss to New England Federal  and in the sentencing

          court's consideration  of the  Rhode Island Central  Credit Union

          loan in calculating overall loss.
















































                                         -11-














                      1.  The New England Federal Loan
                      1.  The New England Federal Loan

                    Regarding  the  New  England  Federal   loan,  D'Andrea

          contends that the loss  of $2.2 million3 to New  England Federal,

          and  its successor, Resolution Trust  Corporation, had more to do

          with the economic climate in which  it later sold the property to

          recover  some of  its  loss than  it  had to  do with  D'Andrea's

          conduct.  He appears to argue that the district court should have

          recognized the  multiple loss causation and  departed downward to

          accommodate it.

                    We begin by noting that the loss table in section 2F1.1

          of the  Sentencing Guidelines "presumes that  the defendant alone

          is  responsible for the entire amount of victim loss specified in

          the  particular loss  range  selected by  the sentencing  court."

          United States v.  Gregorio, 956  F.2d 341, 347  (1st Cir.  1992).
          _____________     ________

          Commentary to  section 2F1.1 states  that a sentencing  court may

          depart downward where it finds the  loss was caused by factors in

          addition to the defendant's conduct:

                      In a few instances, the total dollar loss
                      that   results   from  the   offense  may
                      overstate   its    seriousness.      Such
                      situations   typically   occur   when   a
                      misrepresentation    is     of    limited
                      materiality or is  not the sole cause  of
                      the loss.  . . .   In  such instances,  a
                      downward departure may be warranted.

          U.S.S.G.   2F1.1, Commentary.


                              
          ____________________

          3   The amount  of loss  was determined  by subtracting  from the
          original $2.88 million loan the amount recovered at  the ultimate
          sale  of the  property by  Resolution Trust  Corporation, roughly
          $600,000.

                                         -12-














                    We  lack jurisdiction  to review  the district  court s

          decision not to depart downward under the long-standing rule that

          "a criminal  defendant cannot ground  an appeal  on a  sentencing

          court's discretionary decision not  to depart below the guideline

          sentencing range."   United States  v. Pierro, 32  F.3d 611,  619
                               _____________     ______

          (1st  Cir.  1994),  cert.  denied,  115 S.  Ct. 919  (1995);  see
                              _____________                             ___

          generally, United States v. Tucker, 892 F.2d 8, 9 (1st Cir. 1989)
          _________  _____________    ______

          (holding defendant may not appeal a district court s decision not

          to depart downward).

                      2.  The Rhode Island Central Credit Union Loan
                      2.  The Rhode Island Central Credit Union Loan

                    D'Andrea's  argument here appears  to suggest  that the

          $5.9 million loss was  not foreseeable to him because  he thought

          he  was  negotiating a  non-recourse  loan.   At  trial, D'Andrea

          contended that he was convinced after discussions with the credit

          union's  president, John Lanfredi, that  the loan was  to be non-

          recourse and, therefore, the bank could  not pursue the borrowers

          for   recourse  in  the  event  of  default.    Because  of  this

          misperception, D'Andrea seems  to suggest that he  could not have

          foreseen the loss  and thus cannot be held liable  for the amount

          of that loss.

                    The  record  shows  only  the  following  comment  from

          D'Andrea's  counsel   regarding  the  loss  calculation:     "The

          defendant contends under Section F1.1(b)(1)(L) that the principal

          and actual loss was  1.3 million and no  other factors should  be

          considered to  determine the characteristic level."   Addendum to

          the  Presentence Report, at 2.  We accordingly find that D'Andrea


                                         -13-














          failed to  preserve any  foreseeability argument for  appeal, and

          review only  for plain error.   Tuesta-Toro, 29 F.3d at  775.  We
                                          ___________

          discern no such error here.

                    C.  Role in the Offense
                    C.  Role in the Offense

                    D'Andrea argues  that  the sentencing  court  committed

          reversible error when it determined, in finding that D'Andrea was

          a  "leader" or  "organizer"  under U.S.S.G.  section 3B1.1,  that

          D'Andrea's  fraud  included at  least  five  participants or  was

          otherwise  extensive.   D'Andrea presents  no caselaw  to support

          this proposition.  Typically,  finding an error of this  sort, we

          vacate  the  sentence and  remand  to  the sentencing  court  for

          resentencing.  See, e.g.,  United States v. Wester, 90  F.3d 592,
                         ___  ____   _____________    ______

          599-600  (1st  Cir.  1996)  (vacating  appellant's  sentence  and

          remanding  case for  resentencing upon  a determination  that the

          sentencing  court  had not  made  clear  and legally  supportable

          findings that the defendant was a  leader or organizer of a fraud

          involving  five  or  more  participants  or  that  was  otherwise

          extensive).

                    The district court's findings regarding D'Andrea's role

          in  the offense are fact-intensive  and we review  them for clear

          error.  See United States v.  Rostoff, 53 F.3d 398, 413 (1st Cir.
                  ___ _____________     _______

          1995).  In  finding that D'Andrea  was a  leader or organizer  of

          this fraud, the sentencing court determined the following:

                      There's  no  question   that  he  was  an
                      organizer or leader  of this  transaction
                      and   he   enlisted  two   other  people,
                      [Tulman]   and    Lowenstein,   in   this
                      transaction.      There's   very   little
                      evidence  about  [Tulman]  or  Lowenstein

                                         -14-














                      that  was  presented  in  this  case  but
                      certain[ly] they had to be aware of  some
                      of the Defendant's activities in securing
                      this fraudulent loan and making all these
                      false statements with  the bank.  Paolino
                      was in effect a co-conspirator  with him.
                      The  evidence is clear  on that.  Paolino
                      had  to know  that this  was a  great big
                      fraud,  that the real  purchase price for
                      the  property  was $2.8  million  and not
                      $4.1  million as  stated in  the purchase
                      and sale agreement.  . . .  [Pat Paolino]
                      did  [D'Andrea's] road running to get all
                      the fraudulent tenant letters together to
                      fool  the bank.   And  Michael Favicchio,
                      another  actor  in   this,  he  was   the
                      mortgage broker.  He was the most nervous
                      witness  I ever saw on the witness stand.
                      Michael Favicchio knew what was going on.
                      He wanted  his fee  as a mortgage  broker
                      and  so he transmitted  all this material
                      that was coming from the Defendant to the
                      bank.   He didn't  tell all he  knew from
                      the   witness   stand   but   he   was  a
                      participant   in   this   fraud   whether
                      wittingly or unwittingly.   So there were
                      at  least  five   participants  in   this
                      particular  fraud  and, of  course, there
                      were the  Zarrellas in the  other banking
                      fraud  with  Rhode Island  Central Credit
                      Union  and  his forgery  of  the Zarrella
                      wives' signatures.   So  it  seems to  me
                      that the first test is met that he was an
                      organizer  or  leader with  five  or more
                      participants.   In any  event, it  was an
                      otherwise extensive fraud  and there  was
                      one other co-conspirator, Paolino, and so
                      both prongs of that adjustment are met in
                      this case  and  the total  offense  level
                      should be increased by four.

          Transcript of Sentencing  Hearing, at  18-19.  A  court making  a

          four-level role-in-the-offense adjustment under  U.S.S.G. section

          3B1.1(a) must first determine "whether the defendant acted as  an

          organizer/leader of  a specific  criminal activity.   If  so, the

          court  asks  the  separate  question  of  whether  that  criminal

          activity  involved  five or  more  participants,  defined in  the

                                         -15-














          Commentary  as persons  who are  'criminally responsible  for the

          commission of  the offense . .  . .'"  United  States v. Preakos,
                                                 ______________    _______

          907  F.2d  7,  10 (1st  Cir.  1990)  (quoting  U.S.S.G.    3B1.1,

          Commentary).  D'Andrea does  not challenge the sentencing court's

          initial  finding that he was  an organizer or  leader of criminal

          activity.   His  argument focuses  on whether the  district court

          properly found five participants in his fraud.

                    The record  indicates that  the district court  set out

          the  individuals involved  in the  transaction, without  making a

          specific  finding that  each was  a "participant."   We  need not

          determine,  however, whether  the  court could  have  found by  a

          preponderance of the evidence that D'Andrea's fraud involved five

          criminally  responsible  "participants."   "Since  the   relevant

          language  of subsection[]  (a)  . .  .   is  disjunctive,  either

          extensiveness or numerosity is a sufficient predicate for a . . .

          four-level upward adjustment."   Rostoff, 53 F.3d at 413.   Thus,
                                           _______

          we affirm  the district court's determination  of D'Andrea's role

          in  the  offense because  it properly  found  that his  fraud was

          "otherwise extensive."

                    "[A]   determination  that   a  criminal   activity  is

          'extensive' within the meaning of section 3B1.1 derives from 'the

          totality  of the circumstances, including  not only the number of

          participants but also the  width, breadth, scope, complexity, and

          duration  of the scheme.'"  Id. at  414 (quoting United States v.
                                      ___                  _____________

          Dietz,  950 F.2d 50, 53 (1st Cir.  1991)).  The commentary to the
          _____

          Guidelines provides:   "In  assessing whether an  organization is


                                         -16-














          'otherwise extensive,' all persons  involved during the course of

          the entire  offense are  to be  considered.   Thus, a fraud  that

          involved only three participants  but used the unknowing services

          of many  outsiders could  be considered  extensive."  U.S.S.G.   

          3B1.1, Commentary.    Where a  sentencing  court finds  that  the

          defendant's  scheme  involved  one other  criminally  responsible

          participant,  the "court is free to consider the use of unwitting

          outsiders  in  determining  [whether] a  criminal  enterprise  is

          'extensive' within  the contemplation of section  3B1.1."  Dietz,
                                                                     _____

          950 F.2d at 53.  D'Andrea's criminal activity, including relevant

          conduct, involved  a  fraud against  two  financial  institutions

          whereby  he obtained  loans  for  a  total  of  $8.1  million  by

          submitting to those  institutions documents that  contained false

          financial information  and the  forged signatures of  tenants and

          guarantors.   D'Andrea's  forgeries  of  the tenants   signatures

          attested to the accuracy of the financial information supplied to

          the  bank, while his forgeries of the Zarellas' wives' signatures

          bound  the wives  to  guarantee  a loan  in  the amount  of  $5.9

          million.  He  conspired with Frank  Paolino, a participant  under

          section  3B1.1, to falsify the actual sale price of the property.

          He manipulated  figures involved  in the transaction  to indicate

          that  he and  his co-purchasers  were investing  $1.3  million of

          their  own money  into the  sale,  when, in  fact, they  were not

          investing any  of their own money.   He also used  the witting or

          unwitting services  of  Michael Favicchio,  Pat Paolino,  Michael

          Tulman, and  Gary  Lowenstein to  secure  the $2.88  million  New


                                         -17-














          England  Federal loan, and of the four Zarella brothers and their

          wives, to  obtain the  $5.9 million  Rhode Island  Central Credit

          Union loan.   We find  that the sentencing  court quite  properly

          determined that D'Andrea's fraudulent schemes were  extensive and

          thus supported a four-level role-in-the-offense enhancement.

                    D'Andrea  further argues  that  the sentencing  judge's

          determination  that  his   criminal  activities  were   extensive

          impermissibly mixes "legitimate loans and  development activities

          with isolated instances of criminal conduct."  Absolutely nothing

          in the record indicates that the sentencing judge considered  any
                                                                        ___

          activities,  legitimate or illegitimate,  beyond those related to

          the New  England Federal and  Rhode Island  Central Credit  Union

          loans.   This argument, unsupported by the record, does not alter

          our finding of no error  in the sentencing court's  extensiveness

          determination.

                    D.  Obstruction of Justice
                    D.  Obstruction of Justice

                    The  sentencing court enhanced  D'Andrea's base offense

          level by  two points  for obstruction  of justice  under U.S.S.G.

            3C1.1.  Under that section, the sentencing court must  increase

          the offense level by two "[i]f the defendant willfully obstructed

          or   impeded,   or  attempted   to   obstruct   or  impede,   the

          administration  of justice during the investigation, prosecution,

          or sentencing of  the instant offense . . . ."  U.S.S.G.   3C1.1.

          Perjury  falls within the scope  of obstruction of  justice.  See
                                                                        ___

          U.S.S.G.   3C1.1,  Commentary.  The  sentencing court found  that




                                         -18-














          D'Andrea committed perjury on  four separate occasions during the

          trial:

                      I  conclude  that  two points  should  be
                      added for obstruction of  justice because
                      the  Defendant  committed perjury  during
                      this  trial.   He committed  perjury time
                      and time again.  His main approach to his
                      testimony  was  to  lie about  everything
                      until he was  backed up against  the wall
                      and then he admitted the  truth, admitted
                      forgery,  but  then tried  to rationalize
                      them.   I  can think  of  four  instances
                      where he committed perjury.  He committed
                      perjury concerning his lack  of knowledge
                      of the  amount of  money that was  in the
                      tenant letters.  He denied  forging some,
                      admitted  forging others.  He forged them
                      all.   He  committed perjury  by claiming
                      that there was another purchase  and sale
                      agreement  that didn't have the words 'as
                      is' in it.  Such document was never found
                      or presented.  He  was just lying through
                      his teeth.   There was no  such document.
                      He lied about his conversation with Patty
                      El[der].      What  Patty   El[der]  said
                      concerning the amount  of money that  had
                      to be available at  closing.  And he lied
                      about  the  work  credits.    That  was a
                      substantial   part  of  the  fraud.    He
                      claimed that there  were legitimate  work
                      credits  taken off the  purchase price to
                      get it  down to  two million eight.   The
                      figures didn't even add up.

          Transcript of Sentencing Hearing, at 20.

                    A  determination  of  perjury  must  be  based  on  the

          traditional perjury  test as explained  by the  Supreme Court  in

          United States v. Dunnigan, 507 U.S. 87 (1993).  Dunnigan requires
          _____________    ________                       ________

          a finding that "[a] witness testifying under  oath or affirmation

          . . .  [gave] false testimony  concerning a material  matter with

          the willful intent to  provide false testimony, rather than  as a

          result of confusion,  mistake, or faulty memory."   Dunnigan, 507
                                                              ________


                                         -19-














          U.S. at 94.   Here, the  court found at  least four instances  of

          perjury, "but  any one is  sufficient" to uphold  the adjustment.

          See United States v. Webster, 54 F.3d 1, 8 (1st Cir. 1995).
          ___ _____________    _______

                    The  matters regarding which  the court  found D Andrea

          offered  false  testimony  were  material  because  they  concern

          D'Andrea's specific intent to  commit fraud, an element the  jury

          must  have found  to support  a guilty  verdict.   The sentencing

          court's  findings of perjury cannot be overturned unless they are

          clearly erroneous.  United States v. Tracy, 36 F.3d 199, 202 (1st
                              _____________    _____

          Cir.), cert. denied, 115 S. Ct. 609 (1994).
                 ____________

                      Even  if the  record, read  generously to
                      appellant, might conceivably support some
                      less damning  scenario -- and  we do  not
                      suggest  that  it  can --  we  would  not
                      meddle.   Our review  is  only for  clear
                      error -- and  "where there  is more  than
                      one plausible view of  the circumstances,
                      the   sentencing  court's   choice  among
                      supportable   alternatives    cannot   be
                      clearly erroneous."

          Tejada-Beltr n,  50 F.3d at 110.  Here, there was ample evidence,
          ______________

          considering only D'Andrea's false testimony regarding his forgery

          of  both  tenant  and  guarantor  signatures,  to  find  that  he

          willfully  obstructed  justice.    On  more  than  one  occasion,

          D'Andrea testified  on direct examination that  he had permission

          to sign a tenant or guarantor signature, only to be caught in his

          lie  on cross-examination and to be forced to acknowledge that he

          indeed committed  forgery without the permission  or knowledge of

          the  pertinent "signatory."   The  sentencing court  could easily

          have  found  that such  direct testimony  was  not the  result of

          confusion, mistake,  or faulty  memory.   This single finding  of

                                         -20-














          perjury   is  sufficient   to  uphold   the  sentencing   court's

          obstruction of justice enhancement.   We further note in passing,

          that support for the sentencing court's other findings of perjury

          exist in the record and preclude a finding that they were clearly

          erroneous.  See id.
                      ___ ___












































                                         -21-














                    E.  Restitution Order
                    E.  Restitution Order

                    D'Andrea implores  us to vacate the  sentencing court's

          imposition  of $2.2 million restitution to  be paid to Resolution

          Trust  Corporation, the  successor to  New England  Federal.   He

          contends that such action  is warranted because "[r]estitution in

          the  amount ordered by [J]udge Lagueux is, as a practical matter,

          virtually  impossible  of fulfillment,  regardless  of D'Andrea's

          post-imprisonment  earning  capacity,  and  his  sentence  should

          reflect  that reality."   Appellant's  Brief at  43.   D'Andrea's

          argument,  then,  is  that  the restitution  order  cannot  stand

          because  the  sentencing  court  failed  to  properly  take  into

          consideration  his ability to pay such an amount.  The sentencing

          court found the following:

                      On  all these supervised  release terms I
                      impose  a  condition  that the  Defendant
                      make restitution to the  Resolution Trust
                      Corporation   in   the  amount   of  $2.2
                      million.    I  realize   that's  probably
                      unrealistic.      I   realize  that   the
                      Defendant   probably   will  never   earn
                      anything close to that in the future when
                      he comes out  of prison.  But  I want him
                      to be  aware that he has  that obligation
                      and that any earnings that he makes  will
                      go toward restitution.

          Transcript of Sentencing Hearing, at 32.

                    "In  fashioning  a  restitution  order,  a  court  must

          consider 'the  amount of the  loss sustained by  any victim  as a

          result of the offense, the financial resources of the  defendant,

          the  financial needs and earning ability of the defendant and the

          defendant's dependents, and such other factors as the court deems

          appropriate.'"  United  States v. Newman, 49 F.3d 1, 10 (1st Cir.
                          ______________    ______

                                         -22-














          1995) (quoting 18 U.S.C.   3664(a) (1988)).  The sentencing court

          is  not required to base its determination  on a finding that the

          defendant  has  the  ability  to  repay  the  ordered  amount  of

          restitution.   United States v.  Royal, 100 F.3d  1019, 1033 (1st
                         _____________     _____

          Cir. 1996).   Instead, there must only be an  indication that the

          sentencing  court considered  D'Andrea's  financial situation  in

          arriving  at its  figure.   Id.    The record  here  sufficiently
                                      ___

          supports the conclusion that  the sentencing court considered all

          of the relevant factors in making its determination.  That is all

          that is required.

                    Moreover,  should  this  restitution  order   prove  so

          unreasonably onerous that D'Andrea is clearly unable to  meet his

          responsibilities, he  may move  the district  court to modify  it

          pursuant to 18 U.S.C.   3663(g).

          III.  Judicial Misconduct
          III.  Judicial Misconduct

                    D'Andrea   peppers  the   "Argument"  section   of  his

          appellate brief with allegationsof judicial bias and misconduct.4
                              
          ____________________

          4    Appellant's  bald   assertions  of  misconduct  include  the
          following:

          --   "D'Andrea's prominent role  as a major  borrower from [Rhode
          Island Central Credit Union] could not have been ignored by Judge
          Lagueux  in his assessment of D'Andrea's  culpability, and it was
          his involvement in  the latter that fatally infected  the court's
          judgment  in the New England Federal Savings Bank case."  (citing
          to a  newspaper  article  in  the March  6,  1996  issue  of  the
          Providence Sunday Journal).  Appellant's Brief, at 22.

          --  "Given the  depressed economic climate and hostile  political
          atmosphere prevailing  in Rhode Island  since 1991, and  the fact
          that Rhode Islanders will be repaying the losses . .  . well into
          the  21st  Century,  it  is unsurprising  that  heavy  borrowers,
          including D'Andrea would  be demonized, both in the  public mind,
          and  as political scapegoats.  Judge Lagueux also appears to have

                                         -23-














                    An inquiry  into the  judge's conduct  of the
                    trial  necessarily turns  on the  question of
                    whether  the  complaining   party  can   show
                    serious prejudice.  . . .   In answering this
                    question a reviewing  court must evaluate the
                    judge's  actions 'according to  a standard of
                    fairness  and impartiality,  recognizing that
                    each case  tends to be fact-specific.'  . . .
                    This process requires the reviewing  court to
                    differentiate    between    expressions    of
                    impatience,  annoyance  or  ire, on  the  one
                    hand, and bias or partiality, on the other.



                              
          ____________________

          been  infected by the clamor,  and that his  sentence reflected a
          willingness to  punish D'Andrea  for his involvement  with [Rhode
          Island Central Credit Union],  on a dubious theory of  liability,
          without specific proof of fraud or conspiracy presented."  Id. at
                                                                     ___
          26.

          --  "Moreover,  [Rhode Island Central Credit Union],  a privately
          insured financial institution,  subject to weak  state regulation
          and  political intrigue  with  the Rhode  Island Legislature  and
          Statehouse  makes a weak case  on which the  Government can rely.
          Absent   proof   he   violated   specific   prohibitions,   moral
          condemnation is  not enough to sustain D'Andrea's punishment. . .
          .  This  distinction was apparently lost on Judge Lagueux, and he
          regarded the [Rhode Island Central Credit Union] and [New England
          Federal] transactions  as correlatives  both in time  and intent.
          Given the limited  information the judge had before  him, linking
          the two  together  in his  own  mind in  order  to quadruple  the
          punishment meted out to D'Andrea strongly suggests that the prior
          publicity about  RISDIC and  [Rhode Island Central  Credit Union]
          had an effect."  Id. at 30.
                           ___

          --  "A fair  reading of the sentencing hearing  transcript yields
          but one conclusion, that Judge Lagueux's  comments from the bench
          say  more about  what he  thought D'Andrea  stood for  than about
          conduct for which D'Andrea bears legitimate responsibility."  Id.
                                                                        ___
          at 35-36.

          --   "Judge Lagueux determined that  virtually every disagreement
          between D'Andrea's  testimony  and  the  testimony  of  witnesses
          against him  was perjurious.   Those findings were  entirely one-
          sided and  unfair. . .  .   The entire tenor  of Judge  Lagueux's
          comment showed his predisposition to discount everything D'Andrea
          said,  regardless  of the  probability that  one  or more  of the
          Government's witnesses was not telling the entire truth."  Id. at
                                                                     ___
          39-41.

                                         -24-














          Logue v. Dore, No. 96-1143, 1197 WL 2447, at *4 (1st Cir. Jan. 8,
          _____    ____

          1997)  (quoting United States v.  Polito, 856 F.2d  414, 418 (1st
                          _____________     ______

          Cir. 1998)) (citations omitted).

                    D'Andrea points to nothing in the record to support his

          allegations,  nor  does  he  demonstrate any  prejudice.    After

          painstakingly poring  over nearly 1,450 pages  of transcript from

          both  the  trial and  sentencing hearing,  we  are left  with the

          unmistakable  conclusion that Judge  Lagueux did not  engage in a

          single act of "impatience,  annoyance or ire," let alone  bias or

          misconduct.  D'Andrea's allegations are meritless.

                                      CONCLUSION
                                      CONCLUSION

                    Based on  the foregoing considerations,  we affirm  the
                                                                affirm

          district court's rulings.




























                                         -25-









